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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


REBECCA BURRIS,                                    )
                                                   )
                  Plaintiff,                       )
                                                   )
         vs.                                       )     Case No. 4:21-cv-1013
                                                   )
GRANITE CITY, INC.,                                )
                                                   )
                  Defendant.                       )


                                 FIRST AMENDED COMPLAINT

         Plaintiff Rebecca Burris (“Burris” or “Plaintiff”), by and through undersigned counsel

and for her First Amended Complaint against Defendant Granite City, Inc. (“Defendant”),

hereby states and alleges the following:

                                       Jurisdiction and Venue

    1.      This action arises under the Missouri Human Rights Act, Mo. Rev. Stat. §§ 213.010 –

213.126 (“MHRA”) and Family Medical Leave Act 29 U.S.C. §2601 et seq. (“FMLA”).

    2. The unlawful employment practices complained of herein were committed within St.

Louis County, Missouri.

    3. As a result of the foregoing, jurisdiction and venue in this Court are proper.

                                               Parties

    4. Burris is a female. She is, and at all relevant times was, a resident of Missouri.

    5. Defendant is Plaintiff’s former employer located in St. Louis County, Missouri.

    6. Defendant is an “employer” as defined under the MHRA.




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    7. Defendant is a corporation, which at all relevant times was doing business in the State of

Missouri and employed more than 50 employees for at least 20 workweeks at the facility in

which Plaintiff worked.

    8. At tall times material to this action, Defendant engaged in an industry affecting

commerce and had six or more employees for each working day of twenty or more calendar

weeks.

                                       Administrative Procedures

    9. Plaintiff timely filed a Charge of Discrimination, including timely amendments, with the

Missouri Commission on Human Rights (“MCHR”) pertaining to the discrimination and

retaliation alleged in this lawsuit.

    10. On or around April 14, 2021, Plaintiff received a Notice of Right to Sue from the MCHR,

relating to the aforementioned Charge, and she has initiated this action within 90 days of the date

of such Notice of Right to Sue.

                                          General Allegations

    11. Plaintiff was previously employed by Defendant as a Salaried Manager.

    12. Plaintiff worked for Defendant, or its predecessor, for approximately 11 years.

    13. Plaintiff worked her way through the ranks and ultimately was promoted to the Salaried

Manager position.

    14. Plaintiff was the only female Salaried Manager.

    15. The General Manager was also male.

    16. Only one of the Salaried Managers had been a Manager longer than Plaintiff.

    17. Only one of these other Managers had as longstanding of career with Defendant as

Plaintiff.



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    18. Plaintiff was thoroughly trained in both front of house and back of house operations – as

were all Salaried Managers.

    19. Notwithstanding these facts, Plaintiff was terminated upon concluding FMLA leave taken

in conjunction with her pregnancy.

    20. The purported reason for her termination was that she did not have back of house ability,

which is false and pre-textual.

    21. Plaintiff’s termination was motivated by her sex and/or pregnancy and/or in retaliation

for taking FMLA leave.

                                   First Cause of Action:
                             MHRA – Sex/Pregnancy Discrimination

    22. Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

    23. Plaintiff suffered sex/pregnancy discrimination that culminated in her termination.

    24. Plaintiff’s termination was motivated by her sex and/or pregnancy.

    25. Defendant, by the actions described herein, discriminated against Plaintiff due to her sex

and/or pregnancy in violation of the MHRA.

    26. As a consequence of Defendant’s actions as described herein, Plaintiff has lost, and

continues to lose, wages and other financial incidents and benefits of employment.

    27. As a consequence of Defendant’s actions as described herein, Plaintiff has experienced

emotional distress, embarrassment, and a loss of reputation.

    28. As a consequence of Defendant’s actions as described herein, Plaintiff has incurred, and

will continue to incur, attorney’s fees, costs, and expenses.

    29. The conduct of Defendant was outrageous and willfully undertaken with reckless

disregard for Plaintiff’s rights.


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    30. Plaintiff’s damages in this Count are in an amount not less than $25,000.00.

    WHEREFORE, Plaintiff requests a jury trial and that this Court enter judgment in her favor

and against Defendant, declaring that Defendant has engaged in unlawful employment practices

with respect to Plaintiff in violation of her rights protected by the MHRA; that Plaintiff be

compensated for all losses and damages suffered as a result of Defendant’s unlawful

discrimination and discharge of Plaintiff, including, but not limited to, past and future lost

income, hedonic damages, emotional distress damages, other lost financial benefits of

employment, and an amount to compensate Plaintiff for any tax treatment of a damages award;

that Defendant be ordered to pay punitive damages; that Plaintiff be awarded pre-judgment

and/or post-judgment interest on her damages; that Plaintiff be awarded attorneys' fees and costs

reasonably expended on this case; and further relief as this Court deems appropriate under the

circumstances.

                                     Second Cause of Action:
                                        FMLA Retaliation

    31. Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

    32. Defendant, by its actions, including, but not limited to those described above, retaliated

against Plaintiff for her exercise of rights under the FMLA.

    33. Plaintiff has lost income and benefits of employment and has incurred, and will continue

to incur, attorney’s fees, costs, and expenses of suit.

    34. Defendant’s conduct was a willful violation of the FMLA

    WHEREFORE, Plaintiffs prays that this Court enter judgment in her favor against Defendant

for back pay, liquidated damages, front pay, prejudgment interest, as well for appropriate




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equitable, declaratory, and injunctive relief, attorney’s fees, costs, and expenses and such further

relief deemed just and proper under the circumstances.



                                              Respectfully submitted,

                                              HKM Employment Attorneys LLP



                                              By /s/ S. Cody Reinberg
                                                 S. Cody Reinberg #66174
                                                 7382 Pershing Ave., 1W
                                                 St. Louis, Missouri 63130
                                                 314-391-9557
                                                 creinberg@hkm.com


                                              Attorneys for Plaintiff Rebecca Burris



                                 CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 21th day of September, 2021, the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system which will send
notification of such filing(s) to all counsel of record.

                                              By:     /s/ S. Cody Reinberg




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